                 Case 14-71011                     Doc 26             Filed 01/21/16 Entered 01/21/16 10:42:30                                                   Desc Main
                                                                        Document     Page 1 of 7

 Fill in this information to identify your case:

 Debtor 1          Vanessa                 Amanda                Cushion
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         Middle District of Georgia
 United States Bankruptcy Court for the: ______________________________________

 Case number         14-71011
                     ___________________________________________                                                                                                          
                                                                                                                                                                          X Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            0.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              43,530.00
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            43,530.00
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            39,854.00
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            1.00
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     43,274.00
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 83,129.00
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            2,867.00
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      2,761.00
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                Case 14-71011                 Doc 26           Filed 01/21/16 Entered 01/21/16 10:42:30                          Desc Main
                                                                 Document     Page 2 of 7
Debtor 1    Vanessa               Amanda                Cushion
               _______________________________________________________                                                    14-71011
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

    
    X
      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 2,634.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            1.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            22,138.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                      22,139.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                 Case 14-71011             Doc 26         Filed 01/21/16 Entered 01/21/16 10:42:30                            Desc Main
                                                            Document     Page 3 of 7
 Fill in this information to identify your case:


 Debtor 1            Vanessa Amanda Cushion
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Middle District of Georgia
 United States Bankruptcy Court for the: ___________________________________________

 Case number          14-71011
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                   
                                                                                                   X
                                                                                                     An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                   X

                                                                                                       chapter 13 income as of the following date:
                                                                                                       01/14/2016
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                      Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Laborer
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Heatcraft
                                                                     __________________________________           __________________________________


                                          Employer’s address       ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                     Tifton, GA
                                                                   ________________________________________     ________________________________________
                                                                      City           State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______
                                                                           1 year                                  _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      2,460.00                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     2,460.00
                                                                                              $__________                0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
                Case 14-71011                        Doc 26               Filed 01/21/16 Entered 01/21/16 10:42:30                                        Desc Main
                                                                            Document     Page 4 of 7
Debtor 1          Vanessa Amanda Cushion
                  _______________________________________________________                                                                          14-71011
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       2,460.00
                                                                                                                            $___________              0.00
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.       369.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5e. Insurance                                                                                                5e.      123.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                              0.00              +    0.00
                                                                                                                                                    $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       492.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       1,968.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                0.00                     0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                             239.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
                   Food Stamps
          Specify: ___________________________________________________              8f.

      8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
                                         Income tax refund
      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             660.00              + $_____________
                                                                                                                                                    0.00

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       899.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             2,867.00
                                                                                                                           $___________     +         0.00
                                                                                                                                                    $_____________       =     2,867.00
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         2,867.00
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X
            No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
                 Case 14-71011              Doc 26         Filed 01/21/16 Entered 01/21/16 10:42:30                                  Desc Main
                                                             Document     Page 5 of 7
 Fill in this information to identify your case:

 Debtor 1          Vanessa Amanda Cushion
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                      
                                                                                                      X
                                                                                                        An amended filing
                                                                                                      
                                                                                                      X
                                                                                                        A supplement showing post-petition chapter 13
                                         Middle District of Georgia
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           01/14/2016
                                                                                                           ________________
 Case number         14-71011
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Daughter                                    8
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    Daughter
                                                                                    _________________________                   10
                                                                                                                                ________          No
                                                                                                                                              
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   459.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      50.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
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                                                                Document     Page 6 of 7
Debtor 1          Vanessa Amanda Cushion
                 _______________________________________________________                                         14-71011
                                                                                           Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                        0.00
                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.      102.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.      50.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.      130.00
                                                                                                                      $_____________________
      6d.                   Cell phone
            Other. Specify: _______________________________________________                                    6d.      170.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.       850.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.       0.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.       100.00
                                                                                                                      $_____________________
10.   Personal care products and services                                                                      10.      25.00
                                                                                                                      $_____________________
11.   Medical and dental expenses                                                                              11.      75.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        375.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.      50.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.      0.00
                                                                                                                      $_____________________
                                                                                                                                                    16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.     0.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.     0.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.     75.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.     0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        0.00
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.     0.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.     0.00
                                                                                                                      $_____________________

                           Anticipated vehicle payment
      17c. Other. Specify:_______________________________________________                                      17c.    250.00
                                                                                                                      $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.     0.00
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.    0.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.    0.00
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.    0.00
                                                                                                                      $_____________________



  Official Form 106J                                           Schedule J: Your Expenses                                                   page 2
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                                                               Document     Page 7 of 7
Debtor 1         Vanessa Amanda Cushion
                 _______________________________________________________                                            14-71011
                                                                                              Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           0.00


22.    Calculate your monthly expenses.                                                                                   2,761.00
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               2,761.00
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           2,867.00
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           2,761.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            106.00
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




  Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
